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            1   JAMES R. HOMOLA #60244
                Attorney at Law
            2   2950 Mariposa, Suite 250
                Fresno, California 93721
            3   Telephone: (559) 441-7111

            4   Attorney for
                ROBERT SALAZAR
            5

            6                         UNITED STATES DISTRICT COURT

            7                        EASTERN DISTRICT OF CALIFORNIA

            8                                  *   *   *   *   *

            9                                      |
                UNITED STATES OF AMERICA,          |       Case No. CR F 11-354 LJO
           10                                      |
                           Plaintiff,              |       NOTICE OF REQUEST
           11   vs.                                |       TO SEAL DOCUMENTS
                                                   |       AND PROPOSED ORDER
           12                                      |
                ROBERT SALAZAR,                    |
           13                                      |
                      Defendant.                   |
           14                                      |

           15         Pursuant to Local Rule 141, Local Rules of the United States

           16   District Court for the Eastern District of California, Defendant

           17   ROBERT SALAZAR requests that the Court order the Exhibits

           18   submitted in support of his Motion to Suppress the Evidence

           19   Derived from Successive Wiretap Applications and Orders to be

           20   filed under seal.

           21         Defendant’s request to seal these documents is based on the


James R. Homola
Attorney at Law
2950 Mariposa St
  Suite 250
Fresno, CA 93721
(559) 441-7111
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                grounds that they contain confidential information related to

            1   probable cause for the issuance of the wiretaps, and are subject

            2   to previous orders of the court restricting their distribution or

            3   publication.

            4        The Exhibits will be submitted to the Court Clerk this date

            5   by hand delivery, in a three-ring binder.    Because these documents

            6   are currently already in the possession of all parties, are

            7   identified herein by Bates Number, are subject to a current order

            8   restricting their distribution, and since service would undermine

            9   the Court’s control mechanism (pursuant to which discovery

           10   materials released to defendants are marked with the individual

           11   defendant’s name), additional copies have not been served on the

           12   parties.

           13        It is respectfully requested that the Court grant Mr.

           14   SALAZAR’s request to file the documents under seal.

           15   DATED: June 19, 2013           Respectfully submitted,

           16

           17                                  /s/ James R. Homola
                                               JAMES R. HOMOLA
           18                                  Attorney for Defendant
                                               ROBERT SALAZAR
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           20

           21                                * * * * *


James R. Homola
Attorney at Law
2950 Mariposa St
  Suite 250
Fresno, CA 93721
(559) 441-7111
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                                                O R D E R

            1
                            IT IS SO ORDERED.
            2
                Dated:   June 20, 2013             /s/ Lawrence J. O'Neill   B9ed48
            3                                      UNITED STATES DISTRICT JUDGE

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James R. Homola
Attorney at Law
2950 Mariposa St
  Suite 250
Fresno, CA 93721
(559) 441-7111
